Case 2:18-cv-03460-KS Document 216 Filed 10/24/23 Page 1 of 2 Page ID #:2048




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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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11   PAUL FELLER and CRONUS                     Case No. 2:18-cv-3460-KS
     EQUITY, LLC a Delaware limited
12   liability company,                     Hon. Karen L. Stevenson
          Plaintiffs,                       ___________
13                                         [PROPOSED] ORDER GRANTING
          v.                                STIPULATION FOR ORDER
14
                                            SETTING BRIEFING SCHEDULE
15   ROBERT PETTY and DOES 1 through        ON POST-TRIAL MOTIONS
     25 inclusive,
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          Defendants.
17
18
19   AND RELATED COUNTERCLAIMS
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Case 2:18-cv-03460-KS Document 216 Filed 10/24/23 Page 2 of 2 Page ID #:2049
